

Hong Jin v Herman (2022 NY Slip Op 05274)





Hong Jin v Herman


2022 NY Slip Op 05274


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Index No. 155675/19 Appeal No. 16266 Case No. 2021-03517 

[*1]Hong Jin, et al., Plaintiffs-Respondents,
vHenry Herman, et al., Defendants, Binyan Lorimer, LLC, et al., Defendants-Appellants.


Cohen, LaBarbera &amp; Landrigan, LLP, Chester (Kyle A. Seiss of counsel), for appellants.
Caesar and Napoli, P.C., New York (Ernest A. Spivak of counsel), for respondents



Order, Supreme Court, New York County (Lisa S. Headley, J.), entered on or about August 16, 2021, which denied the motion of defendants Binyan Lorimer, LLC and Herman Equities, LLC to dismiss plaintiffs' complaint as against them, unanimously affirmed, without costs.
Defendants' motion to dismiss the complaint was properly denied in this personal injury and wrongful death action arising out of a motor vehicle, operated by defendant Henry Herman, striking plaintiffs pedestrians. Accepting the facts as alleged by plaintiffs as true (see Leon v Martinez , 84 NY2d 83, 87-88 [1994]), plaintiffs have stated a cause of action in vicarious liability as against the moving defendants in as much as they allege that defendant Henry Herman was acting within the scope of his
employment with defendant Binyan Lorimer, LLC and/or Herman Equities, LLC, at the time of the alleged accident.
We have considered defendants' remaining arguments and find them unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








